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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


GIANNA WHEELER,

         Plaintiff,

         v.                                       Civil Action No. 1:20-cv-02735-CRC

AMERICAN UNIVERSITY, et. al.,

         Defendants.


         DEFENDANTS KINZER, SMITH, AND DAVIS’ ANSWER TO PLAINTIFF’S
                           AMENDED COMPLAINT

         Defendants Stephen Kinzer, Deborah Smith, and Richard Davis (collectively, “MPD

Defendants”) answer Plaintiff’s Amended Complaint as follows. 1

                                        FIRST DEFENSE

         Plaintiff’s Amended Complaint fails to state a claim upon which relief may be granted.

                                      SECOND DEFENSE

         In response to the numbered allegations in the Amended Complaint, Defendants respond

as follows:

    I.        INTRODUCTION 2

         1.      The MPD Defendants deny that they could not have reasonably believed that



1
        The Amended Complaint is replete with allegations as to the conduct of the “Officers,”
which they reference collectively as including Defendants Kinzer, Smith, and Davis as well as
the Special Police Officer Defendants employed by Defendant American University. When
responding to allegations regarding “Officers,” the MPD Defendants are responding only on
behalf of themselves, collectively.
2
        The MPD Defendants utilize the headings appearing in Plaintiff’s Amended Complaint
for convenience and ease of reference only. Any factual allegations stated in, or implied by,
Plaintiff’s headings are denied.
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Plaintiff was a danger to herself or to others, that they unlocked the door, and that seven officers

entered the apartment. The MPD Defendants admit that Plaintiff is a Black female and, at the

time, an undergraduate student at AU, and that Officer Smith entered Plaintiff’s apartment

without a warrant. The MPD Defendants lack sufficient information or knowledge to admit or

deny the remaining allegations in this paragraph.

       2.      Denied.

       3.      The MPD Defendants admit that Plaintiff was taken from her bed to the floor,

handcuffed, and bundled in a blanket; that she was forcibly taken to a hospital; and that she

remained at the hospital for six days and was assigned a working diagnosis of “bipolar disorder

type 1.” The MPD Defendants lack sufficient information or knowledge to admit or deny the

remaining allegations in this paragraph.

       4,      The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       5.      Denied.

II.    JURISDICTION AND VENUE

       6.      Admitted.

       7.      Admitted.

       8.      Admitted.

III.   PARTIES

       9.-15. Paragraphs 9 – 15 relate to parties other than the MPD Defendants, and as a

result, the MPD Defendants are not required to respond. To the extent a response is required, the

MPD Defendants deny the allegations.

       16.     Admitted.



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       17.        Admitted.

       18.        Admitted.

       19.        The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

IV.    MS. WHEELER’S BACKGROUND AND EXPERIENCE AT AU

       20.-31. The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in paragraphs 21 – 31.

V.      THE EVENTS OF SEPTEMBER 26, 2019

       A. Ms. Wheeler’s Visit to Hurst Hall

       32.        The MPD Defendants admit that Plaintiff went to Hurst Hall on September 26,

2019, but lack sufficient information or knowledge to admit or deny the remaining allegations in

this paragraph.

       33.        Admitted.

       34.        The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       35.        Denied.

       36.        The MPD Defendants admit that the mother of the student referenced in this

paragraph, who was not present at Hurst Hall, contacted AUPD to report Plaintiff’s conduct; and

that the student also made a report to AUPD. The MPD Defendants deny the remaining

allegations of this paragraph.

       37.        The MPD Defendants admit that the student referenced in this paragraph did not

press charges with MPD concerning her interaction with Plaintiff, and that the student made a




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report to AUPD concerning the interaction. The MPD Defendants lack sufficient information or

knowledge to admit or deny the remaining allegations in this paragraph.

       38.     The MPD Defendants admit that, at approximately 1:45 p.m., on September 26,

2019, AU Professor Karen Knee sent an email, as indicated in this paragraph; the MPD

Defendants refer the Court to the email as the best evidence of its contents and deny any

inconsistent allegations or characterizations. The MPD Defendants lack sufficient information or

knowledge to admit or deny the remaining allegations in this paragraph.

       39.     Admitted.

       B.      AU’s Discriminatory Preliminary Administrative Decisions

       40-46. Paragraphs 40 – 46 relate to parties other than the MPD Defendants, and as a

result, the MPD Defendants are not required to respond. To the extent a response is required, the

MPD Defendants deny the allegations.

       C.      Unlawful Warrantless Entry and Further Discriminatory Actions

       47.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       48.     The MPD Defendants deny the allegations in the last sentence of this paragraph

and admit the remaining allegations.

       49.     Admitted.

       50.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       51.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       52.     Admitted.



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       53.     The MPD Defendants lack sufficient information or knowledge concerning what

Plaintiff was doing “with her laptop open,” or whether she was wearing only a t-shirt, and admit

the remaining allegations of this paragraph.

       54.     Denied.

       55.     Denied.

       56.     Denied.

       57.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       58.     The MPD Defendants admit that Wheeler remained in her bed and did not stand

up, but deny the remaining allegations of this paragraph.

       59.     The MPD Defendants admit that the AUPD Defendants accused Plaintiff of

having assaulted an individual on campus earlier that day, that she denied the allegation, and that

she asked what they were talking about. The MPD Defendants lack sufficient information or

knowledge to admit or deny the remaining allegations of this paragraph.

       60.     The MPD Defendants admit that Plaintiff denied the assault accusations, denied

needing emergency psychiatric care, and offered to leave the Frequency Apartments to stay with

friends elsewhere in the city. The MPD Defendants deny the remaining allegations of this

paragraph.

       61.     The MPD Defendants admit that Officer Smith asked Plaintiff if she had “any

intention of harming” herself or others; that Plaintiff responded “No” to both questions; that

Officer Smith reported this to Sergeant Davis and Officer Kinzer and said that Plaintiff seemed

“of sound mind to say that”; and that Plaintiff repeatedly asked to leave. The MPD Defendants

deny the remaining allegations of this paragraph.


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       62.     The MPD Defendants admit that Plaintiff asked the police to leave, and that

Plaintiff attempted to use her laptop during the encounter. The MPD Defendants deny the

remaining allegations of this paragraph.

       63.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       64.     The MPD Defendants admit that Plaintiff refused to voluntarily commit to

treatment at an in-patient psychiatric facility. The MPD Defendants deny that they did not leave

the apartment between approximately 7:00 PM to 10:00 PM and further deny the remaining

allegations of this paragraph.

       65.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the first and last sentence of this paragraph, admit that Defendant Kinzer stopped individuals

purporting to be Plaintiff’s friends from entering, and deny that Defendant Kinzer intended to

keep Plaintiff isolated and alone with the AUPD Officers.

       66.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       67.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       68.     The MPD Defendants admit that Plaintiff disrobed shortly before 9:00 p.m., and

admit that the communications described in the last two sentences of this paragraph occurred.

The MPD Defendants deny Plaintiffs’ characterization of the communications and lack sufficient

information or knowledge to admit or deny the remaining allegations in this paragraph.

       69.     The MPD Defendants admit that the quoted text in this paragraph is an accurate

transcription of a portion of a conversation between Defendants Kinzer and Smith, and admit



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Defendant Kinzer called the EMTs. The MPD Defendants deny the remaining allegations of this

paragraph.

       70.        The MPD Defendants admit the first two sentences of this paragraph and admit

that EMTs completed reports of their evaluation of Plaintiff. However, the MPD Defendants

refer the Court to the reports as the best evidence of their contents and deny any inconsistent

characterizations in this paragraph.

       71.        The MPD Defendants acknowledge the existence of the report described in this

paragraph but refer the Court to the document as the best evidence of its contents and deny any

inconsistent characterizations.

       72.        The MPD Defendants lack sufficient information or knowledge to admit or deny

that Defendant Barrett attempted to convince the EMTs to take Plaintiff to a psychiatric hospital

and that the EMTs refused his request. The MPD Defendants deny the remaining allegations in

this paragraph.

       73.        The MPD Defendants admit that the EMTs left the scene and they did not, but

deny the remaining allegations of this paragraph.

       74.        The MPD Defendants admit that the quoted text in this paragraph is an accurate

transcription of the portions of the communications described. The MPD Defendants deny the

remaining allegations of this paragraph.

       75.        The MPD Defendants admit that the quoted text in this paragraph is an accurate

transcription of the portions of the communications described. The MPD Defendants deny the

remaining allegations of this paragraph.

       76.        The MPD Officers admit that they did not act to prevent Plaintiff from being

removed from her room but deny the remaining allegations of this paragraph.



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       77.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the first two sentences of this paragraph. The MPD Defendants admit the last sentence of this

paragraph and admit that Officer Smith called for Plaintiff to be handcuffed, that she gave

instructions on how to subdue her, and that she held Plaintiff’s feet. Any remaining allegations

are denied.

       78.     Admitted.

       79.     The MPD Defendants admit the existence of video footage depicting the incident

but refer the Court to the video as the best evidence of its contents. The MPD Defendants lack

sufficient information or knowledge to deny the remaining allegations of this paragraph.

       80.     Admitted.

       81.     The MPD Defendants admit the allegations in the first sentence of this paragraph

but lack sufficient information or knowledge to admit or deny the remaining allegations.

       82.     Admitted.

       D.      Forced Hospitalization at an In-Patient Psychiatric Facility

       83.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       84.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the remaining allegations in this paragraph.

       85.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       E.      AU’s Discriminatory Post-Incident Response.




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       86-90. Paragraphs 86 – 90 relate to parties other than the MPD Defendants, and as a

result, the MPD Defendants are not required to respond. To the extent a response is required, the

MPD Defendants deny the allegations.

       VI   LACK OF TRAINING AND OVERSIGHT OF MPD AND AUPD
     CONTRIBUTED TO THE UNLAWFUL ACTIONS AGAINST MS. WHEELER

       91.     Denied.

       92.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       93.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       94.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       95.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       96.     The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       97.     Admitted.

       98.     Denied.

       99.     Denied.

       100.    The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       101.    This paragraph relates to parties other than the MPD Defendants, and as a result,

the MPD Defendants are not required to respond. To the extent a response is required, the MPD

Defendants deny the allegations.

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       102.    The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

                   COUNT I: VIOLATION OF TITLE III
     OF THE AMERICANS WITH DISABILITIES ACT - 42 U.S.C. § 12101 ET SEQ.
                              Against AU

       103-118. Paragraphs 103 – 118 relate to parties other than the MPD Defendants, and as a

result, the MPD Defendants are not required to respond. To the extent a response is required, the

MPD Defendants deny the allegations.

                   COUNT II: VIOLATIONS OF SECTION 504
          OF THE REHABILITATION ACT OF 1973 – 29 U.S.C. § 794 ET SEQ.
                                Against AU

       119-135. Paragraphs 119 – 135 relate to parties other than the MPD Defendants, and as a

result, the MPD Defendants are not required to respond. To the extent a response is required, the

MPD Defendants deny the allegations.

                          COUNT III: VIOLATIONS OF
              D.C. HUMAN RIGHTS ACT – D.C. CODE § 2-1401.01 ET SEQ.
                                 Against AU

       136-144. Paragraphs 136 – 144 relate to parties other than the MPD Defendants, and as a

result, the MPD Defendants are not required to respond. To the extent a response is required, the

MPD Defendants deny the allegations.

 COUNT IV: VIOLATION OF THE FOURTH AMENDMENT – UNLAWFUL ENTRY
                         Against All Defendants

       145-156. Paragraphs 145 – 156 relate to parties other than the MPD Defendants, and as a

result, the MPD Defendants are not required to respond. To the extent a response is required, the

MPD Defendants deny the allegations.

    COUNT V: VIOLATION OF THE FOURTH AMENDMENT – UNREASONABLE
                               SEIZURE
                          Against All Defendants

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       157.    The MPD Defendants incorporate by reference their previous responses.

       158.    The MPD Defendants acknowledge that Plaintiff asserts this count under 42

U.S.C. § 1983 against all Defendants.

       159     The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.

       160.    Admitted.

       161.    The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.

       162.    The MPD Defendants deny that Defendant Brown directed them to seize Plaintiff.

The remaining allegations in this paragraph relate to parties other than the MPD Defendants, and

as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the remaining allegations.

       163.    The MPD Defendants deny that they seized Plaintiff.

       164.    The MPD Defendants admit that they wore uniforms and carried weapons but

deny the remaining allegations of this paragraph.

       165.    Denied.

       166.    The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.

       167.    Denied.

       168.    The MPD Defendants admit that they did not have a warrant but deny the



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remaining allegations in this paragraph.

       169.    Denied.

       170     Denied.

       171.    Denied.

    COUNT VI: VIOLATION OF THE FOURTH AMENDMENT – FALSE ARREST
                          Against All Defendants

       172.    The MPD Defendants incorporate by reference their previous responses.

       173.    The MPD Defendants acknowledge that Plaintiff asserts this count under 42

U.S.C. § 1983 against all Defendants.

       174.    The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.

       175.    Admitted.

       176.    The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.

       177.    The MPD Defendants deny that Defendant Brown directed them to seize Plaintiff.

The remaining allegations in this paragraph relate to parties other than the MPD Defendants, and

as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the remaining allegations.

       178.    The MPD Defendants admit that they did not have a warrant and admit that

Plaintiff was taken to the floor and placed in handcuffs while naked and carried through the hall

while covered with a blanket, and that she was taken to a psychiatric facility. The MPD

Defendants deny that Plaintiff did not pose a danger to herself or to others.

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       179.   The MPD Defendants deny that Defendant Brown directed them to seize Plaintiff.

The remaining allegations in this paragraph relate to parties other than the MPD Defendants, and

as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the remaining allegations.

       180.   Denied.

       181.   The MPD Defendants admit that Defendant Kinzer remained in the hallway while

Defendants Davis and Smith assisted in the removal of Plaintiff from the apartment. The MPD

Defendants deny that they violated Plaintiff’s Fourth Amendment rights.

       182.   Denied.

COUNT VII: FALSE IMPRISONMENT – DISTRICT OF COLUMBIA COMMON LAW
                         Against All Defendants

       183.   The MPD Defendants incorporate by reference their previous responses.

       184.   The MPD Defendants acknowledge that Plaintiff asserts this count under District

of Columbia common law.

       185.   Denied.

       186.   Denied.

       187.   Denied.

       188.   The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.

       189.   The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.




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       190.    The allegations in this paragraph relate to parties other than the MPD Defendants,

and as a result, the MPD Defendants are not required to respond. To the extent a response is

required, the MPD Defendants deny the allegations.

       191.    Denied.

       192.    Denied.

       193.    Denied.

       194.    Denied.

       195.    Denied.

         COUNT VIII: ASSAULT – DISTRICT OF COLUMBIA COMMON LAW
                             Against All Defendants

       196.    The MPD Defendants incorporate by reference their previous responses.

       197.    The MPD Defendants acknowledge that Plaintiff asserts this count under District

of Columbia common law against all Defendants.

       198.    Denied.

       199.    Denied.

       200.    Admitted.

       201.    The MPD Defendants lack sufficient information or knowledge to admit or deny

the allegations in this paragraph.

       202.    The MPD Defendants deny that they committed the tort of assault.

       203.    Denied.

       204.    Denied.

       205.    Denied.


              COUNT IX: TRESPASS – DISTRICT OF COLUMBIA COMMON LAW
                                 Against All Defendants

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       206-214. The Court granted summary judgment to the MPD Defendants as to Count IX,

and as a result, a response is not necessary.

                                     RELIEF REQUESTED

       215-225. The MPD Defendants deny that Plaintiff is entitled to relief, including the relief

specified in paragraphs 215 – 225.

       Further answering, Defendants deny any allegation not specifically admitted or otherwise

answered.

                                           Third Defense

       At all relevant times, the MPD Defendants acted in good faith and with the

reasonable belief that their actions were lawful under the circumstances.

                                          Fourth Defense

       Plaintiff may have failed to mitigate her damages.

                                           Fifth Defense

       Plaintiff’s claims may be barred by the doctrines of collateral estoppel and res judicata.

                                           Sixth Defense

       The MPD Defendants, have performed their obligations, if any, toward Plaintiff in

accordance with all applicable statutory, regulatory, constitutional, and common-law

requirements.

                                          Eighth Defense

       Plaintiff may have failed to comply with D.C. Code § 12-309.

                                           Ninth Defense

       If Plaintiff was damaged as alleged in the Complaint, said damages were not proximately

caused by the MPD.

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                                         Tenth Defense

       Plaintiff’s claim may be barred by the applicable statute of limitations.

                                        Eleventh Defense

       The MPD Defendants are protected by the doctrine of qualified immunity.

                                        Twelfth Defense

        If Plaintiff was injured or damaged as alleged in the Amended Complaint, such injuries

or damages were the result of a person or persons other than the MPD Defendants.

                                          Jury Demand

       The MPD Defendants hereby demand a trial by jury.

                                     Reservation of Rights

       Defendants reserve the right to amend this Answer by adding or withdrawing defenses

should facts learned in discovery so warrant.

       WHEREFORE, having fully answered Plaintiff’s Amended Complaint, Defendants

urge the Court to dismiss the Complaint with prejudice and award costs and any other relief

deemed appropriate by the Court.

Date: February 11, 2022                         Respectfully submitted,

                                                KARL A. RACINE
                                                Attorney General for the District of Columbia

                                                CHAD COPELAND
                                                Deputy Attorney General
                                                Civil Litigation Division

                                                /s/ Matthew R. Blecher
                                                MATTHEW R. BLECHER [1012957]
                                                Acting Chief, Civil Litigation Division, Section III

                                                /s/ Robert A. DeBerardinis, Jr.
                                                ROBERT A. DEBERARDINIS, JR. [335976]
                                                Senior Assistant Attorney General
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